                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:11-cr-75

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
XIOMARA AMPARO (2)                       )
________________________________________ )


       THIS MATTER is before the Court upon motions of the defendant to extend her

reporting date to the Bureau of Prisons (BOP) until her children complete their school year, (Doc.

No. 168), and for permission to travel temporarily to the Dominican Republic to attend her

father’s funeral, (Doc. No. 170). The United States Attorney’s Office opposes the travel outside

the country, but does not oppose extending the BOP reporting date. (Doc. No. 171: Response).

       For the reasons stated in the motions, the Court finds good cause to grant the requests.

       IT IS, THEREFORE, ORDERED that the defendant’s motion to extend the reporting

date to her designated BOP facility, (Doc. No. 168), is GRANTED and the deadline is extended

until June 15, 2012, during which she shall remain under the previously ordered bond conditions,

(Doc. No. 33: Order Setting Conditions of Release).

       IT IS FURTHER ORDERED the defendant may travel to the Dominican Republic for

up to 10 days for the purpose of attending her father’s funeral. However, the defendant’s passport

may not be returned to her and she may not travel until she provides United States Probation

Office (USPO) her daily itinerary. While traveling the defendant must report to the USPO daily.

All other conditions remain unchanged. At the conclusion of the travel, the defendant shall

surrender her passport to the USPO.




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        IT IS FURTHER ORDERED that the government’s motion to seal, (Doc. No. 172), is

GRANTED in part and DENIED in part. The government’s Response, which refers to matters

in the Presentence Report, is sealed pending further order of the Court; however, there is no need

to seal this Order.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                                   Signed: May 23, 2012




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